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                        EXHIBIT A
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN

  MICHAEL BOWMAN, individually and on
  behalf of all others similarly situated,           Case No. 17-cv-11630-NGE
                                                     Hon. Nancy G. Edmunds
                               Plaintiff,            Mag. R. Steven Whalen
  v.
                                                     SUPPLEMENTAL DECLARATION OF
  ART VAN FURNITURE, INC., a Michigan                LINDSEY MARQUEZ REGARDING
  corporation,                                       NOTICE AND CLAIM
                                                     ADMINISTRATION
                               Defendant.



  I, Lindsey Marquez, hereby declare and state as follows:

         1.     I am a Project Manager at Epiq Class Actions & Claims Solutions, Inc.

  (“Epiq”). Prior to joining Epiq in 2018, I was a paralegal and engaged in private practice for

  over 15 years. I received my Master of Business Administration in 2018 and my Bachelor of

  Political Science from Northern Arizona University in 2004. 	

          2.    I previously submitted a declaration regarding Epiq’s settlement administration on

  October 9, 2018 (“Notice Declaration”). The facts in this declaration are based on my personal

  knowledge, as well as information provided to me in the ordinary course of my business by my

  colleagues at Epiq. I submit this supplemental declaration in order to provide the Court and the

  parties with additional information regarding the number of claims and opt-outs received.

         3.     In my initial Notice Declaration dated October 9, 2018, I reported that Epiq had

  received a total of 32,667 Claim Forms (2,408 paper Claim Forms and 30,259 web claims). Epiq

  reviewed the Claim Forms and determined that 31,471 were complete, 18 were incomplete and

  in the process of being sent deficiency letters, and 1,178 were duplicate or denied as result of

  being submitted late or from non-class members.

  SUPPLEMENTAL DECLARATION OF LINDSEY MARQUEZ REGARDING NOTICE AND
  CLAIM ADMINISTRATION
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           4.    In my Notice Declaration, I also reported that 348 complete and timely opt-outs

  had been received.

  CLAIM FORMS UPDATE

         5.      As of March 26, 2019, Epiq has received a total of 35,647 Claims Forms (2,477

  paper claim forms and 33,170 web claims). This is an increase of 2,980 claim forms (69 paper

  claim forms and 2,911 web claims). Of the 2,911 increase in web claims, 2,905 were complete,

  and six were duplicate or denied. The 2,911 additional web claims were not initially captured,

  and were therefore not noted in my initial Notice Declaration, due to a programming error

  resulting in web claims not transferring into our database.

         6.      The total number of web claims have increased to 33,170, of which 30,259 were

  previously reported, plus an additional 2,905 complete web claims and six duplicate or denied

  web claims.

         7.      The total number of paper claims have increased by 69 to 2,477 (of which 2,408

  were previously reported), plus 28 complete claim forms as a result of cured deficiency letters

  and claims forwarded by counsel and 41 duplicate or denied paper claims.

         8.      The number of complete claim forms have increased to 34,404, of which 31,471

  were previously reported as complete, plus an additional 2,905 complete web claims and 28

  complete paper claim forms.

         9.      This is an increase of 2,933 complete claims.

         10.     Lastly, pursuant to a check for fraudulent claims, 75 claims have been moved to

  duplicate status and the count of complete claims has been reduced from 34,404 to 34,329.

  REQUESTS FOR EXCLUSION UPDATE

         11.     As of March 26, 2019, Epiq has received 355 requests for exclusion. An


  SUPPLEMENTAL DECLARATION OF LINDSEY MARQUEZ REGARDING NOTICE AND
  CLAIM ADMINISTRATION
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  additional seven complete and timely opt-outs were received since my initial Notice Declaration.

  This information was not initially captured due to a manual processing error. The Exclusion

  Report for the 355 complete and timely exclusion requests is included as Attachment 1.

         I declare under penalty of perjury under the laws of the United States and the State of

  California that the foregoing is true and correct and that this declaration was executed on March

  26, 2019 in Beaverton, Oregon.

  /s/ Lindsey Marquez____________
  Lindsey Marquez




  SUPPLEMENTAL DECLARATION OF LINDSEY MARQUEZ REGARDING NOTICE AND
  CLAIM ADMINISTRATION
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            ATTACHMENT 1
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                  Michael Bowman v. Art Van Furniture, Inc.
                      Case No. 2:17-cv-11630-NGE-RSW
                            Request for Exclusion

                                Name
                            1   PAUL LARIVIERE
                            2   GERALD DAVIS
                            3   PHILLIP BOST
                            4   LISA LANNING
                            5   CAROLYN HARRISON
                            6   JULIE PLUGER
                            7   WAYNE KOWALSKI
                            8   JEFFREY ENGLISH
                            9   JILL MELTON
                           10   JAMES SKALNY
                           11   MELODY WOLLET
                           12   KATHLEEN BETKE
                           13   MELANIE PHIPPS
                           14   TOM CLOCK III
                           15   SUZANNE DEMARS
                           16   CAROLYN CHAVEZ
                           17   JANET OBENAUF
                           18   JEAN MARY DUPLISSIS
                           19   SILVIA ROJAS-ANADON
                           20   DUANE EDNA BAILEY
                           21   CLAIRE ANDRUS
                           22   MARY FRONCZAK
                           23   STEVEN SMITH
                           24   CAROL APRAHAMIAN
                           25   MARY ZACHOS
                           26   KAREN CALLAN
                           27   CHARLES KALBFELL
                           28   CAROLYN NIELSON
                           29   LEONARDO PERSICONE
                           30   SUSAN REINTGES
                           31   STEVEN GREGORY
                           32   JERRY LOVEJOY
                           33   JEAN WASSERMAN
                           34   SUE WHITE
                           35   ARLENE VECSEI
                           36   BEVERLY CARRIEL
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                           37   MARY ANN HANLEY
                           38   AMY MAAT
                           39   KAREN WOLANIN
                           40   MARGARET WADLIN
                           41   VIRGINIA ESSER
                           42   CYNTHIA ACOSTA
                           43   HAZEL STEPHENSON
                           44   TRUDIE DEAN
                           45   BONNIE LAVELLE
                           46   ELIZABETH MAWHINNEY
                           47   JAMIE DAUCH
                           48   KIMBERLY BOYD
                           49   LOUISE BUDNICK
                           50   ANITRA CAPE
                           51   GREG ISAAC
                           52   THERESA BROWN
                           53   MARTHA SHINGLENDECKER
                           54   DEBRA REAGAN
                           55   MARC LOPER
                           56   LINDA RATHBUN
                           57   STEPHEN KANISKI
                           58   DOROTHY OPPENHUISEN
                           59   BETTY HALL
                           60   RUTH HAESSLER
                           61   PAULINE BANASZEWSKI
                           62   RICHARD ALLPORT
                           63   LARRY SPRAUVE
                           64   JUDY GASPAR
                           65   FRANCES ANDERSON
                           66   KENNETH HOLCOMB
                           67   CAROLYN DIXON
                           68   NANCY OBERST
                           69   CONNIE BILA
                           70   CHERYL HARPER
                           71   ROBERT FLETCHER
                           72   KALA SNYDER
                           73   NANCIE ARMSTRONG
                           74   JANICE WYNNE
                           75   MARIANNE ABBOTT
                           76   DAVID DYBALSKI
                           77   SYLVIA KOSINSKI
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                           78   CINDY KASBAUER
                           79   ANTOINETTE KLIMOWICZ
                           80   CAROLYN BOARD
                           81   QUANG TRAN
                           82   FRANCINE CAMPBELL
                           83   LAURA WELCH
                           84   FRANK SOSNOWSKI
                           85   ROGER CREMONT
                           86   NICHOLAS BENDA
                           87   SHARON STREB
                           88   DANIEL HICKEY
                           89   HELEN CEBULA
                           90   TERRI ALEXANDER
                           91   ELAINE GUIDI
                           92   JOYCE PERRY
                           93   MAURICE VERMEULEN
                           94   CHERYL SCHULDT
                           95   MARY ANN ALSIP
                           96   SHARON BRUCE
                           97   JUANITA BACON
                           98   HARRY/MARY VEITH
                           99   CHRISTINE GABRIEL
                          100   ROBERT JONES
                          101   PRISCILLA KELLOGG
                          102   BRUCE JONES
                          103   SYBILLA KASE
                          104   SANDRA SMITH
                          105   DAVID FORD
                          106   HELEN GIBSON
                          107   JUDY KLIMCZAK
                          108   PATTI JEAN COOK
                          109   BARRY/LISA POTTER
                          110   JANICE BROOKS
                          111   JANET LAVALLEY
                          112   WILLARD SWITTER
                          113   MELVIN SUTTON
                          114   ELOISE OSBORN
                          115   DELORES HEIN
                          116   SHARON DEAN
                          117   RUTH BLEEKER
                          118   GORDON OBENAUF
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                          119   AADIL ASMARO
                          120   HANEFREY MCFALLS
                          121   MOHAMMAD HAFIZ
                          122   ELIZABETH MAVCHOWICZ
                          123   EMILY WEIRICH
                          124   DAVID COLLEGROVE
                          125   TODD RIGGS
                          126   JERRY TESSMAN
                          127   LANA DOOLIN
                          128   CHARLENE LAMBARD
                          129   CAROL SANCTORUM
                          130   BETTY GAWENDA
                          131   GERALD WYETH
                          132   KAREN SESSION
                          133   MARTHA STUBBLEFIELD
                          134   JEANETTE ALLEN
                          135   MARSHALL LIPPSON
                          136   FRANK DE FRANCESCHI
                          137   JILL WEBB
                          138   MARILYN WARNER
                          139   RICKY SUMMERS
                          140   JANNES JOHNSON
                          141   NICHOLAS FLUCUS
                          142   JOE ANN BYERS
                          143   SUSAN/LARRY MATTOX
                          144   JACOBA SOTELO
                          145   SAM BLAGA
                          146   MAURA SEDGEMAN
                          147   IRENE PROSSER
                          148   LAURA EDWARDS
                          149   BRIAN TILLMAN
                          150   WINDELL BARTRAM
                          151   JOANN PIORKOWSKI
                          152   HENRY WALTERS
                          153   GEORGE MCCANN
                          154   MARY VANAUKEN
                          155   DORIS HUBBARD
                          156   JOAN OBYRNE
                          157   RONALD SEMAK
                          158   BARBARA WILSON
                          159   KATHERINE WILSHER
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                           160   BRUCE FLORENCE
                           161   SAMUEL HAM
                           162   LINDA BERCH
                           163   SALLY FRAZHO
                           164   ELAINE HOSSLER
                           165   MARY FRITSCHER
                           166   ANGELA WISNIEWSKI
                           167   JOHN KUCZBORSKI
                           168   DORA MOSQUERA
                           169   ALENE WINTON
                           170   JIM-HOLLY PORTER
                           171   VARD THOMPSON
                           172   SHIRLEY DEHN
                           173   CAROL PLUMMER
                           174   WILLIAM BAGNASCO
                           175   ELLEN CRAWFORD
                           176   DENNIS MORSE
                           177   BEVERLY GARDINER
                           178   AL SADEK MAKKI
                           179   DOLORES BARNES
                           180   JERRY SHERMAN
                           181   STEVE DIXON
                           182   THEODORE ASKEW
                           183   ABDEL ELHALI
                           184   BERTHA ERICKSON
                           185   VICTORIA ELKINS
                           186   DOUGLAS COOK
                           187   JUNE RICE
                           188   GERALD FRANCIS FOY
                           189   LINDA ROTACH
                           190   SHARON HEIMAN
                           191   CLAUDIA POLMANTEER
                           192   ANITA RUSSELL
                           193   JOYCE BUSHA
                           194   MARY FITZGERALD
                           195   CHERYL CARRIER
                           196   SUE SCHMIEDICKE
                           197   GARY SERRELL
                           198   JANE SMITH
                           199   MARY CRAIN
                           200   LINDA CHATEL
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                           201   MARGARITA CHAVEZ
                           202   WILLIAM H ALLEN
                           203   MARY WEBB
                           204   ROSANNE PRITCHETT
                           205   WILBUR LACEY
                           206   DOROTHY DEAN
                           207   DAN NOEL
                           208   BEREAN BAPTISTE CHURCH
                           209   INEZ BAYLE
                           210   MOHAMMED ALI
                           211   JOANN PENDO
                           212   SANDRA ERICKSON
                           213   CAROLINE JOHNSON
                           214   DIANA HOULIHAN
                           215   JUANITA THOMAS
                           216   ROSE NICKSON
                           217   DELMER PRIEST
                           218   JANICE FLINTON
                           219   ANTOINETTE A TOMCZAK
                           220   CECILIA SAYLOR
                           221   PERUMAL
                                 BOMMAIAHASAMY
                           222   BONNIE SCHRECK
                           223   WILLIAM BODLEY
                           224   THOMAS HARRIS
                           225   KENT RINTALA
                           226   SHARON WARNER
                           227   JOANNE SARTOR
                           228   CHRISTINE SHEPARD
                                 RELIABLE CAR
                           229   LENUS PATTERSON
                           230   LINDA GROSS
                           231   MADELEINE FITCH
                           232   EDITH HILDERBRANDT
                           233   SARAH HASTINGS
                           234   DANIEL GRIFFIN
                           235   MARY JOHNS
                           236   CHARLOTTE KINSEY
                           237   PADMASINI PERUMAL
                           238   CARLOS VIVEROS
                           239   RUTH HYATT
                           240   LINDA PERAINO
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                           241   HUONG THE KHONG
                           242   JUDY LOVEJOY
                           243   CATHERINE STANKO
                           244   BARB HALLER
                           245   HARRY ANKENBAUER
                           246   ROBERT DUNKLEE
                           247   CORINNE WEBB
                           248   EVERETT KINGSBURY
                           249   PAT DESIDERI
                           250   JOETTA PENDLEY
                           251   CHERYL KELLER
                           252   GEORGETTE OLSON
                           253   LORRAINE FOURROUX
                           254   DAVID HILTON
                           255   DIANE MURPHY
                           256   BETH TUCKER
                           257   DONALD FRANCES DELOOF
                           258   CAROL WROBEL
                           259   BEATRICE COLES
                           260   RON VECSEI
                           261   DICK LINDBERG
                           262   LINDA WRIGHT
                           263   MARILYNN WOOD
                           264   KAREN RICHARDS
                           265   PHYLLIS KAVEN
                           266   VIVIAN PLUMMER
                           267   CALREAN RANKIN
                           268   JILL GROBBEL
                           269   TROY FOX
                           270   MARSHA JENEROU
                           271   JACQUELINE WIXSON
                           272   JACKIE MOODY
                           273   DIANNE SIVAK
                           274   CINDY FITZSIMMONS
                           275   LLOYD SMALE
                           276   SHEILA BONNER
                           277   JIM/JOANN DANN
                           278   GENEVIEW SIYDYM
                           279   COLLEEN CAREY
                           280   LAURA CASS
                           281   MOHAMMAD AMIN
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                           282   MARLENE WHEELER
                           283   JEAN HAFNER
                           284   EDWARD PEITSCH
                           285   JIMMY KRUEGER
                           286   HARRIET NEIL
                           287   RICHARD FALK
                           288   JOSEPHINE MARR
                           289   ANNE SHEERAN
                           290   SHIRLEY SIMONS
                           291   KAREN BEATTIE
                           292   LINDA COOK
                           293   RICHARD EVANS
                           294   CHERYL SULLIVAN
                           295   SALLY GOHEEN
                           296   VERLIE BELL
                           297   FLOYD HAWES
                           298   BEVERLY M NIELSEN
                           299   GLENDA GRIFFIN
                           300   RITA NETTLETON
                           301   MARSHA GRIFFIN
                           302   TERRY THOMPSON
                           303   DENNIS COX
                           304   RETA BOST
                           305   BRENDA ELLIS
                           306   WANDA ROSE GOUGEON
                           307   MARIE KILLINBACK
                           308   DAVID PHILLIPS
                           309   LINDA REMICK
                           310   IRENE NETTLETON
                           311   IDA CLARK
                           312   RUSSEL STOWELL
                           313   DOROTHY BASHORE
                           314   LORETTA HOY
                           315   KAREN ELMY
                           316   JUDY LECOMPTE
                           317   ARLIE BLACK
                           318   WILLIAM DROOMER
                           319   JULIA JODOIN
                           320   DOROTHY WITTER
                           321   FAITH M SHAW
                           322   JANELLE BRADLEY
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                           323   DONNA MIELK
                           324   WARREN HOEFT
                           325   JOEL DAVIDSON
                           326   CLAUDIA TENNY
                           327   BRIAN HERRON
                           328   CORY COOPER
                           329   BRIAN MONTGOMERY
                           330   MARY LOU APPLEBEE
                           331   JUDITH BENOIT
                           332   DONALD PHILLIPS
                           333   KEN ROESKE
                           334   LINDEEN SMITH
                           335   CAROL MAYKOWSKI
                           336   ALLISON KAPALA
                           337   MILES WEAVER
                           338   MARCIA MAYKOWSKI
                           339   LEONARD MULARSKI
                           340   RANDALL WILLIAMS
                           341   NASIA HERNANDEZ
                           342   BEVERLY MYTKO
                           343   ED SOBOTA
                           344   WAYNE TAYLOR
                           345   MARCIA POLANSKI
                           346   BEVERLY MEOLA
                           347   ALLA CLAEYS
                           348   DIANE WYFFELS
                           349   ADAM ADAMKREWIEZ
                           350   DAVID STONE
                           351   DAVID CHATEL
                           352   JUDY GREGORY
                           353   JERRY BAIRD
                           354   JOANN FRANSIK
                           355   JAMES L SHAW
